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                  EXHIBIT A
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                               IN THE COURT OF COMMON PLEAS
                                   CUYAHOGA COUNTY, OHIO



  MICHAEL DOMANN                                )   CASE NO::
  AND                                           )
  MARY JO DOMANN                                )
  10824 Watercress Road                         )
  Strongsville, Ohio 44149                      )
                                                )
                                            )       JUDGE
                 Plaintiffs,                )
                                            )
         vs.                                )       COMPLAINT
                        |                   )
  FRONTIER AIRLINES            )
  C/O CORPORATION SERVICE CO.)
  3366 Riverside Drive, #103   )
  Upper Arlington, Ohio 43221               )
                                            )
               AND                         )
                                            )
  HUNTLEIGH USA CORP.                       )
  5300 Riverside Drive                     )
  Cleveland, Ohio 44135                    )
                                           )
               AND                         )
                                           )
  CITY OF CLEVELAND                       )
  Cleveland Hopkins Airport               )
  C/O 601 Lakeside Avenue E.              )
  Cleveland, Ohio 44114                   )
                                          )
                Defendants                )

                                          PARTIES


        Plaintiffs Michael and Mary Jo Domann are Husband and Wife and each natural born

 U.S. Citizens and residents of Strongsville, Cuyahoga County, Ohio.
                        |
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          Defendant     Frontier Airlines   is major   airline carrier as designated   by the USS.

  Department of Transportation whose main offices are headquartered in Denver, Colorado but

  keep offices and other minimum         contacts in the State of Ohio where the airlines conduct

  significant business. Defendant Frontier Airlines is subject to Title 49 of the U.S. Code in the

  conduct of its business.

          The City of Cleveland owns and operates Cleveland Hopkins Airport the 43rd busiest

  airport in the U.S and as such is subject to Title 49 of the U.S. Code in its duty to provide a

  safe airport which is _          to handicapped usage.

          Defendant Huntleigh USA Corporation is officed in Cleveland, Ohio at the Hopkins

  Airport complex and provides         wheelchair   services in and about the Cleveland    Hopkins

  Complex.




                          |
                  1.   Michael Domann is a retired U.S. Treasury employee who lives with his

                       mare Mary Jo in Strongsville, Ohio.     Mary Jo is employed by Cuyahoga

                       County. They also own a home in Daytona Beach, Florida;

                 2.    Michael has been a paraplegic since age 17 as a result of an automobile

                       accident.   He has had no use of his legs in the last 45 years but has been

                       quite adaptive to the use of his wheelchair and a modified environment in

                       his home and van with the use of his upper body strength in his shoulders
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                   3.    Michael arrived at Cleveland Hopkins Airport on February 16, 2022 to fly

                         to Orlando on Frontier Airlines Flight 1045. As is the normal procedure in

                         the facilitating paraplegic or any wheelchair limited fliers they must be

                         transferred to “aisle chair” wheelchairs which fit airplane aisles before

                         being transferred to their assigned seat for flight;

               4,        Oh this occasion employees        of the airlines or their agents wheeled Mr.

                         Domann from the gate to the entrance to the place and transferred him to

                         this “aisle chair”.    Only one employee was assigned to Mr. Domann to

                         wheel him onto the plane.         In his experience he had always had two

                         assigners to seating him and to the management                  of wheeling the “aisle

                        chair”   onto and inside the airplanes.           The   chair in question       gave   on

                        movement as the one employee assigned Mr Domann turned away and Mr.

                        Domann was “dumped” from his seat landing on his right shoulder.                   Since

                        us fall from the “aisle chair”, Plaintiff Michael Domann has suffered from

                        weslensss and pain his his right shoulder and may require surgery;

              5.        Mr.   Domann      has   additionally,   since     his   injury     required   additional

                        assistance in going about his daily functions and has required additional

                        pain medication as treatment for his shoulder.

                                                        COUNT ONE
                                                       Strict Liability



              6.        Under 49 USC      and 29 USC      citizens of the U.S. have a public right of

                        transit through navigable U.S. airspace and both airlines and airports have a

                        duty to protect individuals utilizing these airports and airlines and have a
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                   special duty of care in making these facilities safe and accessible to the

                   handicapped.

                   When Michael Domann was in the care of the agents of the Defendants on

                   the runway between the airplane door and the aisles the craft those agents

                   in “respondent superior” where strictly and wholly responsible for Mr.

                   Domann’s care and the Defendants are strictly liable in Tort for the acts of

                   those agents which are the proximate cause of injury, pain and suffering

                   and a need to special cost and care.

                                               COUNT TWO
                                         Negligence and Reckless Disregard



                   Plaintiffs incorporate Paragraphs 1 - 7 as if fully rewritten herein.

                   Section   502   29   USC      792   requires   that airports   and       airlines   in their

                  respective   agents    are     required   to make    their   facilities     accessible    for

                  handicapped people.          Defendants therefore had a duty of care toward ticket

                  holder Plaintiff to care for his special needs in the boarding process.

               10. Defendants breached that duty of care in allowing Plaintiff to fall from the

                  “aisle chair” which was not properly managed or equipped.

               11. Plaintiff alleges that the absence of a second employee to help him with the

                  transfer to and the movement of the “aisle chair” constitutes a willful and

                  wanton and reckless disregard for Plaintiff in a disgraceful violation of 29

                  USC 92..

               2. This disregard for Plaintiffs and are the direct and proximate result of these

                  injuries now and in the future.


                                               -4-
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                                                     COUNT THREE
                                                    Punitive Damages

                 13. Plaintiffs hereby incorporate Paragraphs 1 - 13 as if fully rewritten herein.

                 14. Plaintiffs allege that failure to properly staff the use of the "aisle chair” and

                    properly maintain condition to said chair is egregious and was knowingly

                    authorized by Defendants and that the understaffing of that boarding was

                    knowingly authorized, participated in and ratified by Defendants        and these

                    omissions which caused Plaintiff injuries.

                                                 COUNT FOUR
                                                    Consortium
                 15. Plaintiffs hereby incorporate Paragraphs 1 14 as if fully rewritten herein.

                 16. Plaintiff Mary Jo Domann is the spouse and first caregiver of her husband

                    and as a proximate cause of his injury due to the actions of Defendants

                    Mary Jo Domann suffers from the additional loss of society of her spouse

                    and is required to provide additional care to him now and will suffer such

                    damage in the future.

         WHEREFORE,         Plaintiffs pray for judgment as the Court deems proper in an amount

         in excess of $25,000.00 along with such other and further relief as the Court deems

         warranted under the circumstances in law or in equity.

                                            Respectfull       mi


                                            CASSIDY& ASSOCIATES \
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                              IN THE COURT OF COMMON PLEAS
                                  CUYAHOGA COUNTY, OHIO




MICHAEL DOMANN                          )
AND                                     )
MARY JO DOMANN                          )
10824 Watercress Road                   )
Strongsville, Ohio 44149                )
                                        )
                                        )
               Plaintiffs,              )
                                        )
       vs.                              )    INSTRUCTIONS FOR SERVICE
                                        )
FRONTIER AIRLINES                       )
C/O CORPORATION SERVICE CO.             +)
3366 Riverside Drive, #103              )
Upper Arlington, Ohio 43221             )
                                        )
             AND                        )
                                        )
HUNTLEIGH USA CORP.                     )
5300 Riverside Drive                    )
Cleveland, Ohio 44135                   )
                                        )
             AND                        )
                                        )
CITY OF CLEVELAND                       )
Cleveland Hopkins Airport               )
C/O 601 Lakeside Avenue E.              )
Cleveland, Ohio 44114                   )
                                        )
              Defendants                )

TO THE CLERK:

              Please serve the Complaint upon the following Defendants, Frontier Airlines, c/o

Corporation Service Company    at 3366 Riverside Drive. #103. Upper Arlington, Ohio 43221:


Huntleigh USA Corporation| at 5300 Riverside Drive, Cleveland   Ohio 44135: and, City of
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Cleveland, at Cleveland Hopkins Airport, c/o. 601 Lakeside Avenue E., Cleveland, ohio 441 14,

by Certified Mail, Return Receipt Requested pursuant to Civil Rule 4 — 4.6.

                                     Respectfully submitted,




                                     /s/ MICHAEL P. CASSIDY
                                     CASSIDY & ASSOCIATES
                                     Attorneys for Plaintiffs Michael and Mary Jo Domann
                                     By: MICHAEL P. CASSIDY - #0001087
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                                     440-846-9770 — Facsimile
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